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IN THE UNITED sTATEs DIsTRIcT CoURT mm B,',
FoR THE WESTERN DISTRICT oF TENNESSEE ~~-~ D.r:.
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ti US D:§WYLL;%U
UNITED sTArEs oF AMERICA ) Vtt) c a ;.;%.;,;;J,,H,S 57
) " j
Piaintiff, )
)
vs ) CAsE No. 2;04CR20455-M1
)
JoNNETTA HAMMOND )
)
Defendant. )
)
oRl)ER To sURRENDER

 

The defendant, Jonnetta Hammond, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility, lS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FMC Lexington SCP
(F), 3301 Leestown Road, Lexington, KY 40511 by 2:00 p.m. on TUESDAY, SEPTEMBER 6,
2005.

IT lS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Ofiice of the Clerk, Federal Oftice Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREl)thiSihe 10 day ofAugust, 2005.

0 h at

JO PHIPPS McCALLA
ITED STA'I`ES DISTRICT JUDGE

Thls document entered on the docket sheet(ln`€@mpiianc.@ /_\
with ama 55 and/or 32(b) FRCFP °" -Z--___' 57 "

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20455 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

Stephen A. Sauer

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Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

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Honorable J on l\/lcCalla
US DISTRICT COURT

